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                                                                   HONORABLE ROBERT J. BRYAN
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10                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
11
                                          AT TACOMA
12
13   UNITED STATES OF AMERICA,

14           Plaintiff,
15                                                   No. CR09-5452 RJB
             vs.
16                                                   ORDER ALLOWING WITHDRAWAL AND
17   RIGOBERTO FARIAS-CONTRERAS, ET                  SUBSTITUTION OF COUNSEL
     AL.
18
19           Defendants.
20
21           HAVING REVIEWED the court file and pleadings on this matter, this Court HEREBY
22   ORDERS: Zenon Peter Olbertz is permitted to withdraw as counsel, and Glenn K. Carpenter, Jr.,
23
     is substituted as counsel of record in the above-referenced matter.
24
25           DATED this 10th day of December 2009.
26
27
28
                                                       A
                                                       ROBERT J. BRYAN
29                                                     United States District Judge
30   Presented by:
31
     s/Glenn K. Carpenter, Jr.
32   Glenn K. Carpenter, Jr., WSBA #18301
33
     Attorney for Rigoberto Farias-Contreras

34
                                       CERTIFICATE OF SERVICE
     ORDER ALLOWING WITHDRAWAL                         Page 1              Glenn K. Carpenter, Jr., P.S.
     AND SUBSTITUTION OF COUNSEL                                                  24730 36th Avenue S.
                                                                                 Kent, Washington 98032
                                                                                   Tel: (253) 839-8449
                                                                                gcarpenter@gkcarpenter.com
        Case 3:09-cr-05452-RJB             Document 318           Filed 12/10/09        Page 2 of 2




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     I, Glenn K. Carpenter, Jr., hereby certify that on December 10th, 2009 I electronically filed the
2
3    foregoing ORDER ALLOWING WITHDRAWAL AND SUBSTITUTION OF COUNSEL with
4    the Clerk of the Court using the CM/ECF System, which will send notification of such filing to
5
     counsel.
6
7                                                      S/ Glenn K. Carpenter, Jr.
8                                                      Glenn K. Carpenter, Jr., WSBA #18301
                                                       Attorney for Defendant (Substituting)
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     ORDER ALLOWING WITHDRAWAL                         Page 2              Glenn K. Carpenter, Jr., P.S.
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